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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA



TODD NOWICKI AND CYNTHIA NOWICKI
INDIVIDUALLY AND ON BEHALF OF                              CIVIL ACTION
BRYANT, DAVIS AND PRESTON NOWICKI                          NO.

VERSUS

LOUISANA MEDICAL MUTUAL INSURANCE
COMPANY AND JASON ROLLING, M.D.                            SECTION:

                                                           TRIAL BY JURY

****************************************************
                 COMPLAINT FOR DAMAGES

TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF LOUISIANA AND THE JUDGES THEREOF:

       The Complaint of Todd Nowicki and Cynthia Nowicki, persons of full age, individually

and on behalf of Bryant, Davis and Preston Nowicki, the minor children of Todd Nowicki and

Cynthia Nowicki, represent as follows:

                                                 1.

       Plaintiffs, Todd Nowicki and Cynthia Nowicki, were, at all relevant times, of full age,

married to each other, the parents of the minors, Bryant, Davis and Preston Nowicki and are

currently residents of the State of South Carolina.

                                                 2.

       Made     defendant    herein   is   Louisiana   Medical   Mutual   Insurance   Company

(“LAMMICO”), a Louisiana insurer, doing business within the jurisdiction of this court, which

provides a policy of liability insurance to defendant, Jason Rolling, M.D., covering the matters




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sued upon herein, and said defendant is directly liable to petitioners, pursuant to the provisions of

the Louisiana Direct Action Statute.

                                                 3.

       Made defendant herein is Jason Rolling, M.D., upon information and belief, a person of

the full age of majority, a resident of the State of Louisiana, and a licensed physician by the State

of Louisiana, who was practicing medicine in Louisiana at all relevant times.

                                                 4.

       On or about September 7, 2012, Dr. Jason Rolling performed a right distal bicep tendon

repair procedure on Todd Nowicki at Ponchartrain Surgery Center.

                                                 5.

       During the procedure, Dr. Rolling drilled a hole in Todd’s right capitellum and passed a

surgical button and the detached tendon through that hole and secured the button.

                                                 6.

       Dr. Rolling cut the tendon that he had placed at the capitellum, and left the surgical

button in the capitellum.

                                                 7.

       Dr. Rolling drilled a hole in the biceps tuberosity and placed a surgical button and the

detached tendon in that location and secured that button.

                                                 8.

       Dr. Rolling deviated from the standard of care by operating in the wrong location, drilling

through the capitellum and passing the surgical button and detached biceps tendon through the

capitellum, and securing the surgical button to the capitellum.




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                                                  9.

        Dr. Rolling’s deviation from the standard of care caused severe and disabling orthopedic

and nerve injury to Todd Nowicki, requiring significant additional medical treatment, including

therapy and surgery.

                                                 10.

        As a result of the foregoing medical negligence by Dr. Rolling, Todd Nowicki has

suffered disfigurement, disability, pain and suffering, emotional distress, loss of enjoyment of

life and lifestyle, loss of wages, loss of earning capacity and incurred medical expenses, all of

which will continue. In addition, as a result of the foregoing, Cynthia Nowicki and the minor

children, Bryant, Davis and Preston Nowicki, have suffered a loss of consortium, support and

services.

                                                 11.

        This matter was considered by a medical review panel on June 18, 2014 and the opinion

of the medical review panel was mailed by certified mail as provided by statute on July 2, 2014

and received by the undersigned plaintiffs’ counsel on July 3, 2014.

                                                 12.

        Jurisdiction of plaintiffs’ claims against defendants is based on 28 U.S.C. §1332, the

diversity jurisdiction of this court, as the amount in controversy for plaintiffs substantially

exceeds $75,000.00, exclusive of costs and interest, and diversity of citizenship exists between

all plaintiffs and all defendants.

                                                 13.

        Venue is proper because the acts giving rise to plaintiffs’ claims occurred in this judicial

district.



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        WHEREFORE, plaintiffs pray that this Complaint be filed and the defendants,

Louisiana Medical Mutual Insurance Company and Dr. Jason Rolling, be served and cited to

appear and to answer same and after all legal delays and due proceedings had, there be judgment

herein in favor of plaintiffs and against defendants, Louisiana Medical Mutual Insurance

Company and Dr. Jason Rolling, jointly and in solido, for such damages as are reasonable and

just under the circumstances, plus interest from the date that the medical review panel

proceeding was initiated, January 11, 2013, until paid, for all costs of these proceedings, for a

trial by jury and all general and equitable relief.

                                                Respectfully submitted,

                                                /s/ David A. Abramson
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PLEASE SERVE:
LOUISIANA MEDICAL MUTUAL INSURANCE COMPANY
Through its agent for service of process:
Thomas G. Grimstead, MD
One Galleria Blvd., Suite 700
Metairie, LA 70001

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DR. JASON ROLLING                  THE PATIENTS COMPENSATION FUND
C/O Covington Orthopedics          Mr. Ken Schnauder, Executive Director
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